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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-1241V
                                        UNPUBLISHED


    MATTHEW DUPLEASIS,                                      Chief Special Master Corcoran

                        Petitioner,                         Filed: February 22, 2023
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Ryan Truesdale, Groth Law Firm, S.C., Wauwatosa, WI, for Petitioner.

Jennifer A. Shah, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On April 19, 2021, Matthew Dupleasis filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered left arm injuries as a result of an
influenza vaccination he received on November 6, 2018. Petition at 1. Petitioner further
alleges that his symptoms continued for more than six months. Petition at ¶13. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

        On February 21, 2023, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent states that “it is Respondent’s position that Petitioner has
satisfied the criteria set forth in the Table and the Qualifications and Aids to Interpretation

1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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(“QAI”) for SIRVA.” Id. at 5. Respondent further agrees that “this case was timely filed,
that Petitioner received his vaccination in the United States, that Petitioner satisfies the
statutory severity requirement by suffering the residual effects or complications of his
injury for more than six months after vaccine administration, and that there is no evidence
of a factor unrelated that is a more likely cause of Petitioner’s injury.” Id. at 5-6.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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